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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

 BAMIDELE AIYEKUSIBE, MISCHELE
 HIGGINSON and SHANTAL BROWN-
 WINN, individually and on behalf of all
 others similarly situated

                 Plaintiffs,

 v.                                                          Case No.: 2:18-cv-816-FtM-38MRM

 THE HERTZ CORPORATION and
 DTG OPERATIONS, INC.,

                 Defendants.
                                                  /

                                                 ORDER1

         Before the Court are the parties’ responses (Docs. 172; 173) to the Court’s Order

 to Show Cause (Doc. 171).             In light of their responses and Defendants’ Amended

 Suggestion of Bankruptcy and Notice of Operation of the Automatic Stay (Doc. 170), the

 Court stays this case is accordance with 11 U.S.C. § 362(a). When the stay is lifted,

 Plaintiffs may file any timely, signed consent to join forms that opt-in plaintiffs produced,

 but were not filed due to the automatic stay. If there is a dispute over any such forms, the

 Court will resolve those matters after the stay is lifted.

         Accordingly, it is now

         ORDERED:




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       1. This case is STAYED. Defendants must notify the Court, in writing, within

 seven (7) days of the bankruptcy proceedings concluding.

       2. The Clerk is DIRECTED to add a stay flag to the case.

       DONE and ORDERED in Fort Myers, Florida this 9th day of June, 2020.




 Copies: All Parties of Record




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